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                   United States Court of Appeals
                                 FIFTH CIRCUIT
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                           November 09, 2023


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      No. 23-60255     Chamber of Com of the USA v. SEC
                       No. 34-97424
                       No. IC-34906
                       No. 88 Fed. Reg. 36002


Dear Counsel,
Any party filing a matter outside normal business hours (M-F, 8:00
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should call the emergency duty deputy and inform them of the
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                                Sincerely,
                                LYLE W. CAYCE, Clerk



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cc:
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